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   United States of America
 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                      CASE NO. 2:15-CR-190 GEB
11
                                 Plaintiff,         MOTION TO DISMISS CHARGES AGAINST
12                                                  DEFENDANT JOHN MICHAEL DICHIARA
                          v.
13
     JOHN MICHAEL DICHIARA,
14
                               Defendant.
15

16

17         The government moves to dismiss the charges in the indictment against the above-named

18 defendant. The government has received confirmation from the defense that the defendant passed away

19 on August 24, 2019.

20

21   Dated: September 24, 2019                           MCGREGOR W. SCOTT
                                                         United States Attorney
22

23                                                By: /s/ AUDREY B. HEMESATH

24                                                       AUDREY B. HEMESATH
                                                         Assistant United States Attorney
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             Case 2:15-cr-00190-KJM Document 538 Filed 10/02/19 Page 2 of 2

 1                                         ORDER

 2
                  It is so ordered.
 3
     Dated: October 2, 2019
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